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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
      ______________________________________________________________________________


STATE OF TENNESSEE

         Plaintiff,
vs.                                                            Case No.: 2:23-cr-20191-MSN


TADARRIUS BEAN

         Defendant.

                      REPLY TO RESPONSE IN OPPOSITION
                      OF UNITED STATES TO DEFENDANT’S
                MOTION TO LIFT “NO CONTACT ORDER” IN THIS CASE



         On October 3, 2023, the U.S. Government filed a motion in opposition to the request of

Defendant to modify the conditions of release that restrict the ability of Defendants to

communicate freely.

      1. While the Government’s motion asserts Defendants “killed” Tyre Nichols, it fails to

         appreciate the extent to which Tyre Nichol’s actions contributed to his own demise. In

         said regard, the Court should be mindful of the following:

         a) The actions of Mr. Nichols obviously put the life and safety of the police officers in

             extreme danger. These actions were precipitated by Mr. Nichols clearly being heavily

             under the influence of a number of substances, including alcohol, THC, and likely

             Psilocybin.

         b) Secondly, Mr. Nicholas was incentivized to doggedly flee and resist arrest by the

             felonious activity inside his vehicle including controlled substances, stolen

             identification cards, and stolen credit cards.
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        Although the Government makes assertions about the allegations and nature of this case

the desire to protect the “safety” of witnesses, etc., it fails to allege how said concerns are present

in this case.

         For over eight months, the Defendants have been under state indictment related to the

events in this case. They went to Court dates often times sitting and waiting in agreed upon

locations designated by Court security personnel. Not one complaint regarding safety has ever

been lodged against them. In fact, logistically, it was feasible for certain defendants to ride

together for travel and safety concerns during the early days of the State court case.

        The Government lodges perhaps the most disingenuous section when the prosecutor

states the Defendants have no particularly close relationship, because, they are not family or

particularly close friends.

        On a nightly basis this unit of the Memphis Police Department was called upon to engage

the most dangerous individuals throughout the City, regardless of the race, creed, gender of said

individuals. These five men were regularly engaging individuals that possessed fully automatic

weapons including illegally modified handguns. When the cases that caused regularly scheduled

programs to be interrupted, i.e.: 1) high profiled kidnappings, 2) shooting shoppers making

purchases at local auto parts stores, 3) or a scorned lover that kills a mother and child, it was

these men that this City asked to be first responders. The Government, while obviously looking

at these factors in the very cool, calm serenity of an office, fails to appreciate the bond developed

by individuals that rely on each other, often forsaking their own personal safety and wellbeing.

        In short, while discussing Bail Reform and cases where co-defendants and witnesses

were presumed dangerous flight risks, the Government makes no logical argument of why the

ability to contact each other at will should cease as of September 13, 2023.
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       Defendant Bean respectfully asks this Court to remove the no-contact order in this case.

                                                            Respectfully submitted,

                                                             PERRY GRIFFIN, PC
                                                             /s/ John Keith Perrv, Jr.
                                                             John Keith Perry, Jr., #24283
                                                             Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I, John Keith Perry, certify that a true and correct copy of the above and foregoing Notice
of Appearance unto the following, United States District Attorney for the Western District of
Tennessee, via the Court’s electronic filing system.

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This the 10th day of October 2023
                                                            /s/ John Keith Perry, Jr.________
                                                            JOHN KEITH PERRY, JR.
